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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

GARDEN OF LIFE, LLC,

       Plaintiff,
v.                                               GARDEN OF LIFE, LLC’S MOTION FOR
                                                  SUMMARY JUDGMENT ON RHEMA
RHEMA HEALTH PRODUCTS INC.,                          HEALTH PRODUCTS INC.’S
                                                 COUNTERCLAIM AND MEMORANDUM
       Defendant.                                      OF LAW IN SUPPORT

                                                     ORAL ARGUMENT REQUESTED
RHEMA HEALTH PRODUCTS INC.,

       Third-Party Plaintiff,                             Case No. 2:16-cv-01222-BSJ
v.
                                                             Judge Bruce S. Jenkins
TRI-ISO TRYLINE, LLC dba BAOBAB
FOODS,

       Third-Party Defendant.

       Pursuant to Fed. R. Civ. P. 56 and DUCivR 56-1, Plaintiff and Counterclaim Defendant

Garden of Life, LLC (“GOL”), by and through undersigned counsel, submits this Motion for

Summary Judgment on Rhema Health Products Inc.’s (“Rhema”) Counterclaims for Breach of

Contract (Claim I) and the Breach of the Duty of Good Faith and Fair Dealing (Claim II).
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                                      INTRODUCTION

       As this Court has already decided, Rhema materially breached the parties’ Manufacturing

Agreement and Quality Agreement (together, the “Agreements”) by supplying GOL with

Salmonella-contaminated powdered meal replacement product, Raw Meal. That ruling (ECF

No. 169) also necessarily dispenses with Rhema’s remaining counterclaims.

       Rhema’s counterclaim that GOL breached the Agreements by failing to pay unspecified

invoices and failing to fulfill its minimum purchase obligation fails because Rhema’s prior

material breach excused GOL’s future performance and gave GOL the right to terminate the

Agreements by their terms. Settled Florida law provides that a party’s material breach excuses

future performance on the part of an injured party such as GOL. In any event, Rhema cannot

plausibly demand that GOL pay for its claimed “lost profits” resulting from its own wrongdoing

or for the contaminated or even replacement products it supplied in an attempt to mitigate the

consequences from its breach.

       Rhema’s counterclaim under the implied covenant of good faith and fair dealing is

particularly untenable: this claim seeks to relitigate this Court’s finding that Rhema materially

breached the agreements by suggesting—yet again—that GOL was somehow at fault for

Rhema’s breach because GOL supposedly prohibited Rhema from applying a “kill step” to

eliminate potential pathogens. But again, Rhema was found to have materially breached the

Agreements, despite its vocal invocation of its “kill step” theory. Presumably, the Court rejected

these arguments because the Agreements specifically mandate an absence of Salmonella, charge

Rhema with sole responsibility for the purity of the finished product, and give it control over

supervising suppliers and testing protocols. Rhema cannot use the implied covenant theory to

rewrite the parties’ contracts, and, in any event, the undisputed facts are clear that GOL never




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prohibited Rhema or Tri-Iso Tryline LLC d/b/a Baobab Foods (“Baobab”) from using a “kill

step” on the moringa.

       For these reasons, and as explained below, this Court should GOL grant summary

judgment on Rhema’s counterclaim in its entirety.

                     RELIEF SOUGHT AND GROUNDS THEREFOR

       GOL seeks a declaration and judgment dismissing Rhema’s Counterclaims against GOL

for Breach of Contract and Breach of the Duty of Good Faith and Fair Dealing in its entirety, as

Rhema cannot maintain either counterclaim based on this Court’s holding on July 12, 2018 that

Rhema materially breached the parties’ Manufacturing Agreement and Quality Agreement as a

matter of law; that ruling necessarily implies that GOL was excused from further performance

under the contract. GOL also is entitled to summary judgment on Rhema’s breach of the duty of

good faith and fair dealing counterclaim because Rhema’s only other purported basis for this

cause of action is not tied to any contractual obligation and is disproven by the undisputed

evidence.

                                       BACKGROUND

       GOL filed its Complaint seeking damages it incurred when it had to recall Raw Meal

supplied by Rhema that was contaminated with and adulterated by Salmonella Virchow in

material breach of the parties’ Agreements. GOL’s Compl. (ECF No. 2). GOL moved for

partial summary judgment on its breach of contract and breach of implied warranty claims,

which this Court granted in part, holding that Rhema materially breached its agreements with

GOL. See Court’s July 12, 2018 Order on Summary Judgment (ECF No. 169) (“July 12, 2018

Order”). In so ruling, the Court implicitly rejected Rhema’s argument that GOL was at fault for

the contaminated product by selecting raw moringa and/or allegedly preventing a “kill step.”



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       However, Rhema brings a counterclaim against GOL, seeking damages from GOL, even

though Rhema breached the Agreements. Rhema alleges, among other things, that GOL

breached the Agreements by “refusing to pay invoices within thirty (30) days of receiving them”

(Rhema’s Third Amended Answer and Counterclaim (“TAAC”) ¶ 118), and “failing to meet the

agreed upon minimum annual purchase commitment,” (TAAC ¶ 120). Rhema also claims that

GOL breached the duty of good faith and fair dealing on the same bases (despite asserting that

the express terms of the contracts govern those matters) (TAAC ¶¶ 124-26), as well as by

allegedly prohibiting Rhema from using a “kill step” on organic moringa oleifera (“moringa”)

(the source of the Salmonella that contaminated the Raw Meal Rhema supplied), despite its

alleged knowledge that moringa powder supplied by Baobab “contained high total plate counts,”

(TAAC ¶¶ 127-33).1 Rhema alleges damages of lost profits and out-of-pocket costs, which

purport to include unfinished and finished contaminated Raw Meal which was recalled (TAAC

¶¶ 94, 109), replacement Raw Meal that was produced with revised specifications (to omit

potentially contaminated moringa) (TAAC ¶¶ 108, 109), “excess materials and stranded

inventory” (TAAC ¶¶ 106, 109), and “work in process” (TAAC ¶¶ 106, 109).

       The Court’s conclusion that Rhema materially breached the Agreements precludes

Rhema’s counterclaims. GOL therefore brings the instant Motion.

                  STATEMENT OF UNDISPUTED MATERIAL FACTS

       1.     GOL and Rhema entered into the Manufacturing Agreement on January 22, 2015

(attached hereto as Appendix A). See July 12, 2018 Order at ¶ 1.




1
  The “total plate count” refers to the number of aerobic organisms present in a substance. This
is not the same as a measure of the amount of pathogenic (or harmful) bacteria in that substance,
like Salmonella. The Agreements contemplate a permissible plate count; they prohibit any
Salmonella.
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       2.      The Manufacturing Agreement incorporated and attached as an exhibit a Quality

Agreement dated December 31, 2014 (“Quality Agreement”) (attached hereto as Appendix B).

See July 12, 2018 Order at ¶ 1.

       3.      Pursuant to the Agreements, Rhema was obligated to “package and manufacture”

health food and dietary supplements for GOL, including a powdered meal replacement product

called Raw Meal Organic Shake and Meal Replacement (“Raw Meal”), for GOL’s ultimate

distribution. See id. at ¶ 2; see also App. A, § 1; App. B at 1.

       4.      The Agreements required that Rhema furnish products to GOL that would “fully

conform to their Finished Goods Specifications and be pure and free from adulteration.” July 12,

2018 Order at ¶ 3; see also App. A, § IV(1).

       5.      The “specifications [for the Raw Meal] required the use of raw moringa oleifera

aka moringa leaf powder.” Rhema’s TAAC ¶ 8.

       6.      GOL’s Specifications for Raw Meal required that Rhema supply a product free

from Salmonella contamination. See Raw Meal Specifications (ECF Nos. 114-1, 114-2, filed

under seal).

       7.      The Specifications for Raw Meal did not prohibit a “kill step” or heat treatment

on any ingredients used in the Raw Meal, including raw moringa which ultimately was found to

have contained the Salmonella pathogen that caused the contamination. Id.

       8.      The parties’ Agreements made Rhema responsible for supervising suppliers and

conducting testing protocols, among other aspects of controlling the procurement and processing

of raw ingredients and the manufacture of Raw Meal. See, e.g., App. B, §§ 9.1, 9.3.1; App. B,

Ex. A §§ 4d, 4h, 4i, 5b, 6b, 6d; see also App. A, §§ II(4), IV(1).




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       9.      Both GOL and Rhema approved Baobab as the supplier of the moringa for Raw

Meal, and Rhema placed orders with Baobab for moringa. See June 1, 2018 Dep. of Spencer

Porter (Rule 30(b)(6) designee) (“Porter Dep.”) Tr. 37:11-23 (attached hereto as Appendix C).

       10.     Rhema did little to evaluate Baobab as a supplier; Rhema’s Head of Quality,

Spencer Porter, had no knowledge of whether Rhema ever sent Baobab a supplier questionnaire

to evaluate it (id. at 46:9-47:8), spoke to anyone at Baobab (id. at 47:9-12), did any further

research to determine whether it wanted to do business with Baobab (id. at 47:13-16), or engaged

in any supplier audits or performance reviews (id. at 87:17-24).

       11.     On April 14, 2015, Baobab informed Rhema and GOL that a total plate count

measurement (though not pathogenic bacteria measurement) on certain lots of moringa was

higher than Baobab had expected based on the specifications for the moringa. See Exhibit 6 to

Jan. 18, 2018 Dep. of Jeffrey Brams, at RHEMA00002334-36 (attached hereto as Appendix D).

       12.     In this email exchange, Baobab informed a Rhema employee, Darren Auramenko,

of potential options for manufacturing moringa powder for Raw Meal. One of these options

included not employing a dry steam processing step, which both Rhema and GOL found to be an

acceptable way to move forward with manufacturing. See id. at RHEMA00002334.

       13.     Rhema was fully aware of the concept of a kill step when it first started doing

business with Garden of Life. See App. C, Porter Dep. Tr. 50:9-16; May 29, 2018 Dep. of Frank

Wong (Rule 30(b)(6) designee) (“Wong Dep.”) Tr. 55:21-24 (attached hereto as Appendix E). It

also knew to expect higher microbial levels on moringa powder as opposed to other ingredients

because Rhema had classified the ingredient as a botanical. See App. C, Porter Dep. Tr. 101:1-

102:3; see also App. E, Wong Dep. Tr. 68:19-69:17.




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       14.     Rhema did not believe that a kill step was required for the moringa; if it had, its

representatives testified that they would have recommended one to GOL. App. C, Porter Dep.

Tr. 65:21-66:3 (“Q. It’s fair to say that Rhema did not believe that a kill step was needed with

respect to the Baobab Foods Moringa at that time? A. We had no test results to indicate such. Q.

If you thought a kill step had been needed for the Baobab Foods Moringa, you would have

recommended that to Garden of Life, correct? A. Absolutely.”).

       15.     Rhema did not believe that the absence of a “kill step” made the product

unreasonably dangerous. See App. E, Wong Dep. Tr. 83:23-84:1 (“Q. But, sir, if there is a

product that you believe is going to cause injury, you’re not going to sell it even if the customer

says I want it, are you? A. No, of course not.”); App. C, Porter Dep. Tr. 134:1-15. In fact, it

was comfortable with the absence of a dry steam process based on the microbial limits on

Baobab moringa. App. E, Wong Dep. Tr. 85:3-7.

       16.     According to Rhema’s Director of Quality, Rhema did no independent

investigation or research into moringa or to determine whether or not a kill step would be

required to avoid contamination; it claims to have simply assumed that because GOL included

moringa on a formula and its Raw Meal specification sheet, that it was appropriate to use. App.

C, Porter Dep. Tr. 55:2-56:22; see also id. at 99:5-12; 136:17-37:11.

       17.     Rhema had previously recommended kill steps on other ingredients to GOL when

it believed treatment was necessary. See id. at 62:5-64:25. And GOL never refused any request

of Rhema to apply a “kill step.” See id. at 66:8-15; Jan. 18, 2018 Dep. of Jeffrey Brams Tr.

(“Brams Dep.”) 239:24-41:23 (attached hereto as Appendix F); see also Exhibit 10 to Brams

Dep. (attached hereto as Appendix G).




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       18.     To the contrary, on the few occasions Rhema raised the question of a “kill step”

as to particular raw ingredients during the parties’ relationship, GOL indicated that it supported

such a treatment. See App. C, Porter Dep. Tr. 62:5-63:23; Exhibit 9 to Porter Dep. (attached

hereto as Appendix H); see also App. E, Wong Dep. Tr. 100:18-21 (“Q. Can you see – can you

think of any example in which Rhema said, we think a kill step is appropriate or desirable and

Garden of Life said no? A. No.”).

       19.     Indeed, in or around November of 2015, when Baobab, the supplier of the raw

moringa powder, suggested a “kill step” for moringa powder, GOL indicated that it supported

this proposal. See App. F, Brams Dep. Tr. 239:24-241:23; Exhibit 11 to Brams Dep. (attached

hereto as Appendix I).

       20.     Between approximately August or September 2015 and January 2016, Rhema

manufactured and supplied lots of Raw Meal product to GOL. See July 12, 2018 Order at ¶ 4.

       21.     During this time, Rhema manufactured and supplied Raw Meal product to GOL

that was contaminated with and adulterated by the pathogen Salmonella Virchow, which

rendered the product unpure and adulterated. See id. at ¶ 5.

       22.     Rhema’s supply of contaminated and adulterated Raw Meal forced GOL to

implement a nationwide recall, pulling its flagship products out of hundreds of stores across the

United States. Sept. 27, 2018 Decl. of Jeffrey Brams in Opp. to Rhema’s Mot. Summ. J.

(“Brams Decl.”) (attached hereto as Appendix J) at ¶ 3.

       23.     The recall placed a core part of GOL’s business in extreme jeopardy, as it opened

up the prospect that retailers would no longer accept and promote GOL’s products, or that

competing products would exploit the recall and GOL’s absence from shelves to take market

share from GOL. Id. at ¶ 6.



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       24.     Exhibit A to the Quality Agreement is the parties’ Quality and Compliance

Agreement Checklist, which “defines who is responsible for the Good Manufacturing Practice

(GMP) aspects of specification development, manufacturing, testing and release of GoL

products.” App. B. Section 12 of the Checklist deals with, among other things, “Product Recall”

and “Market Withdrawal” and provides that GOL and Rhema both “shared” responsibility for

“[i]nvestigation” and “[c]orrective action.” Id.

       25.     Immediately after the recall, GOL and Rhema worked together to develop a plan

of corrective action to address the crisis created by the recall, as required by Section 12 of

Exhibit A to the Quality Agreement. App. J, Brams Decl., at ¶¶ 8-9.

       26.     Specifically, GOL and Rhema created a moringa-free formulation of Raw Meal to

eliminate the ingredient identified as the source of the contamination, and worked quickly to get

replacement product on retail shelves to avoid customer complaints, brand and goodwill damage,

and lost market share to competitors. Id. at ¶ 9.

       27.     Had GOL not immediately taken these actions, the damages could have totaled in

the hundreds of millions, rather than the low tens of millions that GOL actually incurred. Id.

       28.     The parties’ Manufacturing Agreement provided that:

       This Agreement shall be for three years, effective as of the Execution Date, and
       shall terminate three years thereafter, provided, however, that either party may
       terminate this Agreement at any time by written notice to the other if . . . either
       party breaches the terms of the Agreement and fails to cure such breach within 30
       days from written notice of the breach by the non-breaching party.

App. A, § VII(a)(iv).

       29.     GOL terminated the Agreements by a written notice dated September 26, 2016 in

accordance with the termination provision of the Agreements. GOL’s Sept. 26, 2016 Notice of

Termination (attached hereto as Appendix K).



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         30.     Because Rhema supplied products contaminated with and adulterated by

Salmonella, this Court held, in its July 12, 2018 granting in part GOL’s motion for summary

judgment on its breach of contract claim, that Rhema was in material breach of its obligations

under the parties’ Agreements. See July 12, 2018 Order.

                            SUMMARY JUDGMENT STANDARD

         Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). “‘[T]he mere existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment,’ and, instead, summary

judgment requires ‘no genuine issue of material fact.’” Thomas v. Avis Rent a Car, 408 F. App’x

145, 151 (10th Cir. 2011) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48)

(alterations and emphasis in original). Additionally, summary judgment may be granted as to all

or part of any claim or defense. See Fed. R. Civ. P. 56(a).

                                          ARGUMENT

    I.         GOL IS ENTITLED TO SUMMARY JUDGMENT ON RHEMA’S BREACH
               OF CONTRACT COUNTERCLAIM

         GOL is entitled to summary judgment on Rhema’s breach of contract counterclaim

because Rhema’s prior material breach excused GOL’s performance. In Florida, “the general

rule is that a material breach of [a contract] allows the non-breaching party to treat the breach as

a discharge of his contractual liability.” Colucci v. Kar Kare Auto. Group, Inc., 918 So. 2d 431,

437 (Fla. Dist. Ct. App. 2006) (quoting Benemerito & Flores, M.D.’s, P.A. v. Roche, M.D., 751

So. 2d 91, 93 (Fla. Dist. Ct. App. 1999)).2 As such, “[w]here there is a prior breach by the


2
  See also SEB S.A v. Sunbeam Corp., 148 Fed. App’x. 774, 787 (11th Cir. 2005) (“Florida law
states that ‘[w]hen a contract is breached by one of the parties, the other party is released from
any obligation to perform the contract.’” (quoting Miller v. Reinhart, 548 So. 2d 1174, 1175 (Fla.
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complaining party, the breach is a defense to the contract action.” Managed Care Sols., Inc. v.

Cmty. Health Sys., Inc., No. 10-60170-CIV, 2012 WL 12861133, at *6 (S.D. Fla. May 14, 2012),

report and recommendation adopted, No. 10-60170-CIV, 2012 WL 12861134 (S.D. Fla. June 4,

2012) (citing SEB S.A v. Sunbeam Corp., 148 Fed. App’x 774, 787 (11th Cir. 2005)).3

Accordingly, once Rhema materially breached the Agreements by supplying contaminated and

adulterated Raw Meal (see July 12, 2018 Order), GOL was under no obligation to pay for the

defective and dangerous product, or to continue to purchase product from Rhema pursuant to the

Agreements. Thus, Rhema’s breach of contract claim is barred.

       Not only does the first-to-breach doctrine bar Rhema’s counterclaim, but so does the

Manufacturing Agreement itself.      Section VII of the Manufacturing Agreement expressly

contemplates one party’s termination of the parties’ Agreement upon notice of the other parties’

breach. This is precisely what happened here. In accordance with that provision, and applicable

Florida statutes, GOL timely and appropriately invoked its right to terminate the Manufacturing

Agreement in its September 26, 2016 Notice to Rhema. App. K. Rhema therefore has no

actionable breach of contract counterclaim against GOL. This formal termination of the parties’

Agreement operates, in particular, to bar any claim to lost profits for the duration of the three-

year term of the Agreement. It is clear that early termination of this term due to breach was

expressly contemplated by the parties in the formation of their Agreement, as reflected in Section



Dist. Ct. App. 1989))); In re Suncoast Airlines, Inc., 101 B.R. 350, 355 (S.D. Fla. 1989) (“The
non-breaching party to a contract has no duty to further perform the contract.”).
3
  See also Popular Bank v. R.C. Asesores Financieros, C.A., 797 So. 2d 614, 622 (Fla. Dist. Ct.
App. 2001) (“Upon [Appellant]’s material breach of the [Agreement]. . ., [Appellee] was
excused as a matter of law from complying . . .”); Cheezem Dev. Corp. v. Intracoastal Sales &
Serv., Inc., 336 So. 2d 1210, 1212 (Fla. Dist. Ct. App. 1976) (“As the party who initially
committed a substantial breach of the contract, [Appellee] was not entitled to avail itself of a
claimed subsequent breach by [Appellant].”).

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VII(a)(iv). Rhema cannot now ignore this provision to claim lost profits for years to which it is

not entitled.

        To the extent the breach of contract counterclaim arises out of any purported failure to

pay invoices for product Rhema provided to GOL with GOL’s moringa-free formula, excess

materials and stranded inventory, work in process, and product that GOL voluntarily recalled, the

claim fails as a matter of law. Rhema has failed to sufficiently substantiate these claims with

direct, admissible evidence, and, in any event, these purported expenses were incurred as a direct

result of Rhema’s own breach and as part of an effort to mitigate the same. Rhema cannot now

recover the costs associated with its own wrongdoing.

        Even if Rhema could somehow substantiate this aspect of its breach of contract claim, the

damages it seeks are barred by law because they are far less than the damages suffered by GOL

as a result of Rhema’s breach.4 Where a breaching party seeks restitution5 for benefits allegedly

conferred, any such recovery is limited to what is “in excess of the loss that [it] has caused by

[its] own breach.” Restatement (Second) of Contracts § 374(1); see also Timberland Consol.

P’ship v. Andrews Land & Timber, Inc., 818 So. 2d 609, 611 (Fla. Dist. Ct. App. 2002)

(“Generally, if a party to a contract justifiably refuses to perform on the ground that the party’s


4
 Rhema seeks a total of approximately $5,470,843 in damages ($4,776,607 in alleged lost profits
and $694,236 in alleged out-of-pocket costs) (Rhema’s Aug. 20, 2018 Mot. Summ J. at ¶¶ 11-12,
14-16 (ECF No. 175)), whereas GOL seeks approximately $11,491,971 in compensatory
damages and other costs.
5
  Rhema argues in its Reply in Support of its Motion for Summary Judgment (ECF No. at 18)
that this section of the Restatement is not applicable because its damages sound in breach of
contract and not restitution. However, no matter how Rhema attempts to characterize its
damages, the very point here is that Rhema, as the first party to materially breach the parties’
Agreements, cannot generally enforce the Agreements and is not entitled to recover under it. See
pp. 9-10 infra. As a result, Rhema can only be making a claim for restitution, not lost profits.
Cf. Timberland Consol. P’ship, 818 So. 2d at 611 (explaining that party in breach may be
entitled to restitution which the court characterizes as “extracontractual”).

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remaining duties of performance have been discharged by the other party’s breach, the party in

breach is entitled to restitution for any benefit he has conferred by way of part performance in

excess of the loss that he has caused by his own breach.” (citing Searcy, Denney, Scarola,

Barnhart & Shipley, P.A. v. Scheller, 629 So. 2d 947 (Fla. Dist. Ct. App. 1993) (quoting

Restatement (Second) of Contracts § 374(1) (1979))). As Comment (a) to § 374(1) clarifies,

“[t]he party in breach is, in any case, liable for the loss caused by his breach. If the benefit

received by the injured party does not exceed that loss, he owes nothing to the party in breach.”

Here, Rhema’s material breach directly resulted in nearly $11.5 million in out-of-pocket losses to

GOL, plus millions more in consequential damages. Whatever benefit Rhema claims to have

conferred on GOL comes nowhere close to exceeding the loss that Rhema caused. Rhema

therefore cannot recover under breach of contract for damages it caused as a matter of law.6

       Accordingly, GOL is entitled to summary judgment on Rhema’s breach of contract

counterclaim in its entirety.

II.    GOL IS ENTITLED TO SUMMARY JUDGMENT ON RHEMA’S BREACH OF
       GOOD FAITH AND FAIR DEALING COUNTERCLAIM

       Rhema’s counterclaim invoking the implied covenant of good faith and fair dealing also

fails as a matter of law for the reasons below. Under Florida law, the objective of the implied

covenant claim is “to protect the reasonable expectations of the contracting parties[.]” Ins.

Concepts & Design, Inc. v. Healthplan Servs., Inc., 785 So. 2d 1232, 1234 (Fla. Dist. Ct. App.

2001). “Because the implied covenant is not a stated contractual term, to operate it attaches to

the performance of a specific or express contractual provision.” Snow v. Ruden, McClosky,


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  Rhema should also be denied the damages it seeks for the reasons set forth in GOL’s
Opposition to Rhema’s Motion for Summary Judgment on Its Claim for Breach of Contract
Against GOL (ECF No. 192, Section B at 19-24), the entirety of which GOL adopts and
incorporates herein by reference.

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Smith, Schuster & Russell, P.A., 896 So. 2d 787, 792 (Fla. Dist. Ct. App. 2005). Moreover, the

implied covenant of good faith and fair dealing cannot be used to alter a contract’s express

obligations. See, e.g., Burger King Corp. v. Weaver, 169 F.3d 1310, 1316 (The Florida appellate

courts have also held that “[t]he implied obligation of good faith cannot be used to vary the terms

of an express contract.” (quoting City of Riviera Beach v. John's Towing, 691 So. 2d 519, 521

(Fla. Dist. Ct. App. 1997)).

       As an initial matter, Rhema attempts to use its implied covenant claim, like it does with

its breach of contract claim, to (again) seek to hold GOL liable for alleged violations of

contractual provisions. See TAAC ¶ 126 (payment of certain invoices and minimum product

purchases). However, as discussed above, GOL was excused from further fulfilling any of its

obligations under the contract following Rhema’s material breach of that contract. Indeed, the

Manufacturing Agreement expressly reflected the parties’ expectation that the Agreement may

be terminated by a party at any time due to the other parties’ breach of the Agreement—as GOL

did. See App. A, § VII(a)(iv). A breach of the implied covenant of good faith and fair dealing

cannot be maintained “where no enforceable executory contractual obligation remains.” Ins.

Concepts & Design, Inc., 785 So. 2d at 1235 (internal quotations and citation omitted).

Accordingly, GOL performed the Agreement in good faith and is entitled to summary judgment

on Rhema’s claim on this basis.

       Rhema further attempts to hold GOL liable on the basis of Rhema’s allegations

concerning the quality and processing of Baobab moringa—specifically, that GOL prevented

Rhema from applying a “kill step” to prevent contamination. However, Rhema has not alleged

any express contractual provision GOL has breached in allegedly preventing the “kill step,” as

required by Florida law. See, e.g., Centurion Air Cargo, Inc. v. United Parcel Service Co., 420



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F.3d 1146, 1151-52 (11th Cir. 2005) (“[A] breach of the implied covenant of good faith and fair

dealing cannot be maintained under Florida law in the absence of a breach of an express term of

a contract.”). Quite to the contrary, the express terms of the Agreements place on Rhema the

responsibility for measures to ensure the purity of raw ingredients and the final product, to

supervise raw ingredient suppliers, and to manage testing protocols. Specifically, Rhema agreed

to secure and purchase the raw materials” (App. A, § II(4)) and to “maintain supplier quality

program that encompasses supplier qualification, audits, and supplier performance” (App. B,

§ 9.1). Rhema also agreed to “take the necessary steps to ensure the manufacturing process is in

control, including Supplier Qualification.” App. B, § 9.3.1. Moreover, Exhibit A to the Quality

Agreement reflects that Rhema had “full” responsibility—and GOL had “none”—to, among

other things, perform a “[s]upplier audit” (Quality Agreement, Ex. A at § 6b) and “[m]onitor

supplier performance” (id. at § 6d), as well as for “[s]ampling plans” (id. at § 5b), “[l]aboratory

reference standards” (id. at § 4h), “[t]est method qualification” (id. at § 4d), and “Out of

Specification procedures” (id. at § 4i). Neither the Agreements nor the specifications for Raw

Meal prohibited the use of a kill step.7      And, while knowing it had full control over the

manufacture of the product, Rhema also expressly warranted it would supply product that was

“pure and free from adulteration.”       App. A, § IV(1).     Given the foregoing, it is utterly

implausible to claim that Rhema was prevented—indeed, that GOL prohibited it—from

employing any necessary manufacturing, processing, or quality controls on Raw Meal or its

ingredients to ensure product safety or purity. Through its allegations suggesting the contrary,

Rhema improperly attempts to modify the parties’ Agreements and alter the express contractual

bargain of the parties, under which Rhema assumed sole responsibility for procurement of raw

ingredients, testing and manufacture of Raw Meal, as well as its ultimate purity. But Rhema
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    See Raw Meal Specifications (ECF Nos. 114-1, 114-2, filed under seal).
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cannot now claim breach of “an implied covenant of good faith . . . to vary the unambiguous

terms of a written contract and when parties negotiate ‘a fully specified, unambiguous contract,

[a] court is not at liberty to change their bargain.’” Avatar Dev. Corp. v. De Pani Constr., 834

So. 2d 873, 876 (Fla. Dist. Ct. App. 2002) (citation omitted). Such a claim is prohibited under

Florida law. Tracfone Wireless, Inc. v. Simply Wireless, Inc., 275 F. Supp. 3d 1332, 1343 (S.D.

Fla. 2017) (explaining that there can be no breach of good faith and fair dealing claim “where

application of the covenant would contravene the express terms of the agreement”).

       Even if Rhema’s contention did not fail on the face of the agreements, it cannot

controvert its own Rule 30(b)(6) designees, who conceded that Rhema did not think a kill step

necessary and who confirmed that GOL never refused to permit one. Spencer Porter, Rhema’s

Director of Quality, testified as follows:

       Q.      It’s fair to say that Rhema did not believe that a kill step was needed with
               respect to the Baobab Foods Moringa at that time?

       A.      We had no test results to indicate such.

       Q.       If you thought a kill step had been needed for the Baobab Foods Moringa,
               you would have recommended that to Garden of Life, correct?

       A.      Absolutely.

App. C, Porter Dep. Tr. 65:21-66:3. Making matters much worse for Rhema, its Vice President

of Product Development and Technical Services, Frank Wong, admitted in his Rule 30(b)(6)

deposition that he could think of no example in which Rhema requested or suggested a “kill

step” and GOL refused. App. E, Wong Dep. Tr. 100:18-21. Rhema’s “kill step” argument has

always been a sham; that it would press the argument after its own witnesses have conceded the

core point is inexplicable.

       The other evidence in this case overwhelmingly closes the door on the “kill step”



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argument, leaving no disputed fact. For example, in one email chain from November 2015, the

parties discussed “some recent microbial issues on a few batches of raw moringa leaf powder.”

App. I at RHEMA00003643-3645.           Copied on this email chain was Darren Auramenko,

Rhema’s buyer. Id. Mr. Auramenko was also copied on an earlier email chain from April 2015,

which discusses the “microbial levels” in the moringa, which Mr. Auramenko ultimately

forwarded to Spencer Porter, Rhema’s former Director of Quality & Compliance. See App. D.

In none of these emails did anyone from GOL indicate that a “kill step” was prohibited.

Furthermore, on the limited occasions that Rhema requested the use of a kill step, no one from

GOL prohibited that option.8 Indeed, during his 30(b)(6) deposition, Spencer Porter, Rhema’s

corporate representative, testified that GOL never prohibited a kill step. App. C, Porter Dep. Tr.

66:8-15. Even if the application of a kill step had been prohibited, Rhema has not established,

and cannot establish, that the Salmonella contamination would have been prevented if a kill step

(specifically, a dry steam treatment) had been employed.

       The undisputed facts show that the allegations in Rhema’s counterclaim are false, and

GOL is entitled to summary judgment on Rhema’s breach of the duty of good faith and fair

dealing counterclaim.




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 See App. C, Porter Dep. Tr. 62:5-63:23, 66:8-15; App. E, Wong Dep. Tr. 100:18-2; App. H; see
also App. G at Tri-Iso00000270.
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                                      CONCLUSION

       For the foregoing reasons, GOL respectfully requests that this Court grant GOL’s Motion

for Summary Judgment on Rhema’s Counterclaim in its entirety.

Dated: November 7, 2018                    Respectfully submitted,

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                             CERTIFICATE OF SERVICE
        I hereby certify that I caused a true and correct copy of the foregoing GARDEN OF
 LIFE, LLC’S MOTION FOR SUMMARY JUDGMENT ON RHEMA HEALTH
 PRODUCTS INC.’S COUNTERCLAIM AND MEMORANDUM OF LAW IN
 SUPPORT to be served in the method indicated below to the below-named parties this 7th
 day of November, 2018.


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